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                                                                       Marine Co., Ltd
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                                                                     8
                                                                     9                                   UNITED STATES DISTRICT COURT
                                                                   10                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                   11                                    SOUTHERN DIVISION, SANTA ANA
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                                                                   12 DAVID PARKER and BIG BIRD                                    Case No. 8:12-cv-01994-DOC-JCG
                                                                      HOLDINGS LLC,,
                                                                   13                                                              MEMORANDUM OF POINTS AND
                                        LOS ANGELES, CALIFORNIA




                                                                               Plaintiff,                                          AUTHORITIES IN SUPPORT OF
                                           ATTORNEYS AT LAW




                                                                   14                                                              MOTION TO VACATE RENEWAL
                                                                          v.                                                       OF JUDGMENT BY CLERK
                                                                   15                                                              ENTERED ON FEBRUARY 3, 2025
                                                                      ALEXANDER MARINE CO., LTD.,
                                                                   16                                                              Hearing:
                                                                               Defendant.                                          Date:        April 14, 2025
                                                                   17                                                              Time:        8:30 a.m.
                                                                                                                                   Courtroom:   411 W 4th Street
                                                                   18                                                                           Courtroom 10A
                                                                                                                                                Santa Ana, CA 92701
                                                                   19
                                                                                                                                   Judge: Honorable David O. Carter
                                                                   20
                                                                   21              COMES NOW, Defendant Alexander Marine Co., Ltd, (“Defendant”) and
                                                                   22 moves to vacate the Renewal of Judgment by Clerk [Dkt. No. 226] (the “Motion”)
                                                                   23 for the reasons set forth below:
                                                                   24                                                         I.
                                                                   25                                               INTRODUCTION
                                                                   26              The Application submitted by the judgment creditor sought to renew a
                                                                   27 judgment pursuant to California Code of Civil Procedure (“Code”) Section 683.130,
                                                                   28 which allows a judgment to be renewed at anytime before the expiration of the

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                                                                     1 ten-year period of enforceability. The Judgment dated February 2, 2015, expired as
                                                                     2 of February 2, 2025. Subsequent to February 2, 2025, outside the ten-year period of
                                                                     3 enforcement, the judgment was no longer capable of being revived. As such, the
                                                                     4 Renewal of Judgment is properly vacated.
                                                                     5                                                       II.
                                                                     6                                              STATEMENT OF FACT
                                                                     7             On February 2, 2015, Judgment was entered in favor of Plaintiffs David
                                                                     8 Parker and Big Bird Holdings, LLC (“Creditor”) against Defendant and Judgment
                                                                     9 debtor Alexander Marine Co., Ltd. in the sum of $3,931,059.71 (“Judgment”).
                                                                   10              On March 21, 2019 , a Second Amended Judgment was entered to include
                                                                   11 prejudgment interest in the amount of $6,508.11 and attorneys’ fees in the amount
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                                                                   12 of $273,534.25 for a total judgement amount of $4,204,593.96.
                                                                   13              On September 3, 2024, the Judgment was amended to substitute Plaintiff and
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                                                                   14 Judgment Creditor Jonathan David Parker (“Judgment Creditor”) as the
                                                                   15 successor-in-interest of David Parker as a result of the death of David Parker.
                                                                   16              On October 24, 2024, Plaintiff and Judgment Creditor Big Bird Holdings,
                                                                   17 LLC assigned all of its rights, title and interest in the Judgment to the Judgment
                                                                   18 Creditor.
                                                                   19              On February 3, 2025, Plaintiff filed an Amended Application For Renewal of
                                                                   20 Judgment by Clerk (“Application”). [Dkt. No. 226]
                                                                   21              On February 3, 2025, the clerk of the District Court entered the Renewal of
                                                                   22 Judgment in favor of Plaintiffs David Parker and Big Bird Holdings. [Dkt. No. 230]
                                                                   23              On February 4, 2025, the clerk issued the Notice of Amended Application For
                                                                   24 Renewal of Judgment By Clerk. [Dkt. No. 233]
                                                                   25
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                                                                     1                                                       III.
                                                                     2                                                 ARGUMENT
                                                                     3 A.          The Motion Timely Requests the Court To Vacate the Renewed
                                                                                   Judgment
                                                                     4
                                                                                   Not later than 60 days after service of the notice of renewal pursuant to
                                                                     5
                                                                         Section 683.160, the judgment debtor may apply by noticed motion under this
                                                                     6
                                                                         section for an order of the court vacating the renewal of the Judgment.1 The notice
                                                                     7
                                                                         of motion shall be served on the judgment creditor. CA Civ Pro Code § 683.170
                                                                     8
                                                                         (2024)
                                                                     9
                                                                                   On February 3, 2025, Defendant filed Notice of the Amended Application for
                                                                   10
                                                                         Renewal of Judgment. 2 [Dkt. No. 231]
                                                                   11
                                                                                   On February 4, 2025, the clerk issued a Notice of Amended Application For
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                                                                   12
                                                                         Renewal of Judgment which disregarded the earlier notice. [Dkt. No. 233]
                                                                   13
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                                                                                   Pursuant to FRCP Rule 60(b), a court may relieve a party from a final
                                                                   14
                                                                         judgment wherein the judgment is void or any other reason that justifies relief. It is
                                                                   15
                                                                         the moving party’s burden to prove by a preponderance of the evidence that it is
                                                                   16
                                                                         entitled to vacate the renewal of judgment under the Code, Section 683.170.
                                                                   17
                                                                         (Fidelity Creditor Service, Inc. v. Browne, (2001) 89 Cal.App.4th 195, 199 (106 Cal.
                                                                   18
                                                                         Rptr. 2d 854.)
                                                                   19
                                                                         B.        Under California Law, A Judgment Expires 10 Years After The Date Of
                                                                   20              Entry Of A Money Judgment And Is Unenforceable
                                                                   21              Section 683.020 sets forth in pertinent part; that:
                                                                   22         “except as otherwise provided by statute, upon the expiration of 10 years
                                                                      after the date of entry of a money judgment or a judgment for possession or
                                                                   23 sale of property, (a) the judgment may not be enforced and (b) all enforcement
                                                                   24    1
                                                                       The Notice of Amended Application instructed the Defendant that it had 30 days after service of
                                                                   25 notice to file a motion to vacate the renewal, rather than 60 days as set forth in the Code. [Dkt No.
                                                                      233]
                                                                   26
                                                                         2
                                                                             In accordance with discussions with counsel for Plaintiff, the Amended Application for Renewal
                                                                   27 of Judgment has not yet been served on the Defendant given it first must be transcribed into
                                                                   28 Mandarin. (See Declaration of J. Nolan, filed concurrently herewith)

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                                                                     1 procedures pursuant to the judgment or to a writ or order issued pursuant to the
                                                                       judgment shall cease.” (Emphasis Added)
                                                                     2
                                                                     3             On February 2, 2015, Judgement was entered. By its own terms, Section
                                                                     4 683.020 makes clear that ten years from that date, February 2, 2025, the Judgment
                                                                     5 expired and the judgment was no longer subject to being enforced.
                                                                     6             On or before February 2, 2025, neither the Creditor nor the Judgment Creditor
                                                                     7 renewed the Judgment. Accordingly, any act after February 2, 2025, was without
                                                                     8 legal effect.
                                                                     9 C.          The Application to Renew the Judgment Filed on February 3, 2025,
                                                                                   Could Not Reinstate an Expired Judgment
                                                                   10
                                                                   11              Under section 683.120, a “judgment creditor may renew a judgment by filing
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                                                                   12 an application for renewal of the judgment with the court in which the judgment was
                                                                   13 entered.” That application can be filed any time before the expiration of the
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                                                                   14 10-year period of enforceability provided by section 683.020. (CCP § 683.130,
                                                                   15 subd. (a); Emphasis Added) See Estate of Douglas, (2022) 83 Cal.App.5th 690,
                                                                   16 695.
                                                                   17              The Law Revision Commission explained: “Renewal under this article
                                                                   18 permits enforcement of a judgment beyond the 10-year period prescribed by Section
                                                                   19 683.020. This procedure supersedes the procedure under former Section 685
                                                                   20 pursuant to which a judgment could be enforced upon noticed motion after the
                                                                   21 expiration of 10 years in the discretion of the court upon a showing of the reasons
                                                                   22 for failure to enforce the judgment during the first 10 years. This article does not
                                                                   23 require the judgment creditor to demonstrate diligence in enforcing the judgment,
                                                                   24 but if renewal is not accomplished within 10 years after entry of the judgment, the
                                                                   25 judgment becomes unenforceable.” (Cal. Law Revision Com. com., 17 West's Ann.
                                                                   26 Code Civ. Proc., supra, foll. § 683.110, p. 76, italics added.) OCM Principal
                                                                   27 Opportunities Fund, L.P. v. CIBC World Markets Corp.,(2008) 168 Cal App. 4th
                                                                   28 185, 194 .

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                                                                     1             The 10-year period for renewing a judgment, and the 10-year period for filing
                                                                     2 an independent action on a judgment, are not coterminous: “The period applicable to
                                                                     3 renewals begins when judgment is entered, and may not be tolled, whereas the
                                                                     4 period applicable to actions on a judgment begins when the judgment is final, and is
                                                                     5 subject to tolling. Highland Springs Conference & Training Center v. City of
                                                                     6 Banning, (2016), 244 Cal. App 4th 267, fn 6.
                                                                     7             The Application makes clear the Plaintiff sought to “renew” the judgment.
                                                                     8 The Application seeks to extend the period of enforceability for a period of ten
                                                                     9 years. (Dkt. No. 226, p. 2, lns. 24-28, citing to CCP §§ 683.110 through 683.220)
                                                                   10 The relief granted to the Plaintiff was premised on the authority set forth in CCP
                                                                   11 § 683.110.
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                                                                   12              While under former section 685, the trial court was granted discretion to
                                                                   13 determine if there existed “excusable failure” to extend the judgment. In 1982,
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                                                                   14 Section 683.110, replaced the former standard with a longer and objective time
                                                                   15 frame3. As described by many courts, the renewal of a judgment is purely a
                                                                   16 “ministerial act”. Jonathan Neil & Associates, Inc. v. Jones, (2006), 136 Cal App.
                                                                   17 4th 1481, 1487. Renewal does not create a new judgment or modify the present
                                                                   18 judgment. Renewal merely extends the enforceability of the judgment. Id. The
                                                                   19 renewed judgment 'has no independent existence' from the original judgment." Popa
                                                                   20 v. Winn Law Grp., APC, 2019 U.S. Dist. LEXIS 11676, 2019 WL 289832 (C.D.
                                                                   21 Cal. Jan. 23, 2019) (citing to Jonathan Neil & Assocs., 138 Cal. App. 4th at 1490).
                                                                   22 Here, the Judgment at the time it was renewed was no longer subject to enforcement
                                                                   23 pursuant to § 683.020 and not capable of being extended by renewal.
                                                                   24              Legislative enactments are to be construed in accordance with the ordinary
                                                                   25 meaning of the language used if the words are not ambiguous and do not lead to an
                                                                   26
                                                                   27    3
                                                                       The new law increased the limitations period from five years to ten years. Jonathan Neil &
                                                                                                                      th
                                                                   28 Associates Inc. v. Jones, (2006) 138 Cal. App. 4 1481, 1488.

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                                                                     1 absurdity. See Valley Circle Estates v. VTN Consolidated, Inc., (1983) 33 Cal. 3d
                                                                     2 604, 609-610 (189 Cal. Rptr. 871, 659 P.2d 1160). Under the plain meaning rule,
                                                                     3 when the language of a statute is clear, a court need go no further. Nolan v. City of
                                                                     4 Anaheim (2004) 33 Cal. 4th 335, 340[14 Cal. Rptr 3d 857, 92 P.3d 350]. Here, the
                                                                     5 language of Section 683.020 is not ambiguous or unclear. The Judgment expired on
                                                                     6 February 2, 2025. Nor is the statutory language of Section 683.120 unclear. The
                                                                     7 statutory language sets forth renewal of judgment, is allowable “at anytime before
                                                                     8 the expiration of the ten-year period of enforceability of the renewed judgment
                                                                     9 provided by Section 683.120.” (Emphasis Added) Since the Renewal occurred
                                                                   10 outside the ten-year period of enforceability, it was not capable of being renewed
                                                                   11 even if only be one day. See Lona v. Abreu, 2019 U.S. Dist. LEXIS 49632, *2
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                                                                   12 (N.D. Cal. Mar. 25, 2019) (Application submitted ten years and one day after
                                                                   13 deadline is untimely.)
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                                                                   14             The Application acknowledges that the Application was untimely, but cites to
                                                                   15 FRCP 6(a) as authority to extend the deadline of CCP § 683.130 a further day.
                                                                   16 However, application of FRCP 6(a) in the present circumstances would contradict
                                                                   17 the language of CCP § 683.130 requiring filing before the expiration of the 10-year
                                                                   18 period as well as Article 1, Period for Enforcement of Judgments, which makes
                                                                   19 clear on its face that upon expiration of 10 years after the date of entry of a money
                                                                   20 judgment, (a) the judgment may not be enforced. CCP § 683.020. The California
                                                                   21 Code of Civil Procedure and the statutory language therein is specific as to the ten
                                                                   22 year period after which the judgment expires. Plaintiff’s argument for the
                                                                   23 application of a general pleading rule as specified in FRCP 6(a), computing and
                                                                   24 extending time for the filing of motion papers, would contradict the specific
                                                                   25 language of the California statute of the period for enforcement and expiration of
                                                                   26 judgments. See RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U. S. 639,
                                                                   27 645-647, 132 S. Ct. 2065, 182 L. Ed. 2d 967 (2012) (“The general/specific canon is
                                                                   28 perhaps most frequently applied to statutes in which a general permission or

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                                                                     1 prohibition is contradicted by a specific prohibition or permission. To eliminate the
                                                                     2 contradiction, the specific provision is construed as an exception to the general
                                                                     3 one.”) Similarly, the California Legislature extended the period to renew judgments
                                                                     4 from five to ten-years but set a specific red-line at which time the judgment
                                                                     5 automatically by operation of law expires. To the extent there is ambiguity or
                                                                     6 conflict between the statutes, the terms of the specific statutory authorization of
                                                                     7 CCP § 683.020, would govern over the application of general pleading rules.
                                                                     8             WHEREFORE, the Defendant respectfully requests that the Motion be
                                                                     9 granted, as reflected in the attached proposed order and Renewal of Judgment by
                                                                   10 Clerk vacated.
                                                                   11 Dated: March 11, 2025                             PACHULSKI STANG ZIEHL & JONES LLP
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                                                                                                                        By /s/ Jeffrey P. Nolan
                                                                   14
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                                                                                                                             Attorneys for Defendant, Alexander
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